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     8:03-cr-00240-JSM-E_J                    Document
           (Rev. 0 1 1 0 7 m e n t in a Criminal               136 - Sheet
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                                              W E D STATES DISTRICT COURT
                                               MIDDLE DISTRICT OF FLORIDA

      UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
                                                                                  (For Revocation of Probation or Supervised
                                                                                  Release)
      v.
                                                                                  Case Number: 8:03-cr-240-T-30MSS
      VINCENT J. CARTER                                                           USM Number: 41250-01 8

                                                                                  David Secular, oda.
                                                                                  Defendant's Attorney
      THE DEFENDANT:
        X   admitted guilt to violation of charge nurnber(s)                       ONE, TWO, THREE, FOUR, FIVE, SIX AND
      SEVEN             of the term of supervision.
                                                                                                                                            I
      Violation Charge                Nature of Violation                                                          Violation Ended
      Number
      ONE                             Positive urinalysis in violation of Condition                                December 13,2006
                                      Seven of the Standard Conditions of
                                      Supervision (Grade C Violation)

      TWO                             Positive urinalysis in violation of Condition                                December 20,2006
                                      Seven of the Standard Conditions of
                                      Supervision (Grade C Violation)

      THREE                           Positive urinalysis in violation of Condition                                December 28,2006
                                      Seven of the Standard Conditions of
                                      Supervision (Grade C Violation)

      FOUR                            Positive urinalysis in violation of Condition                                January 18,2007
                                      Seven of the Standard Conditions of
                                      S u p e ~ s i o n(Grade C Violation)

      FIVE                            Positive urinalysis in violation of Condition                                January 23,2007
                                      Seven of the Standard Conditions of
                                      Supervision (Grade C Violation)

      SIX                             Failure to participate in Drug Aftercare Treatment                           February 13,2007
                                      In violation of the Special Condition
                                      (Grade C Violation)

      SEVEN                           Failure to work regularly at a lawful occupation in                          November 20,2006
                                      violation of Condition Five of the Standard                                                           1
                                      Condtions of Supervision (Grade C Violation)

              The defendant is sentenced as provided in pages 2 t h r o u g h 4 of tins judgment. The sentence is
      imposed pursuant to the Sentencing Reform Act of 1984.

                 It is ordeed that the defendant must notit? the United States attomev for this dihtrict within 30 days of any
      change of name, residence, or mailing add~c*suntil all fines, restitution,casts, and special assmments imposed by this judgment are
      fully paih If ordered to pay ratihdion, the defendant must notify the c o r n and United States attorney of material change3 in

                                                                March 29,2007
                                                               Date of Imposition of Judgment              A
CaseA 8:03-cr-00240-JSM-E_J                 Document
      0 215D (Rev. O1:07) Judgment in a C~iminsl            136 - Sheet
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     DEFENDANT:       VINCEW J. CARTER                                        Judgment - Page   2      of    4
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                                                   IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of
     Prisons to be imprisoned for a total term of TWO (2) DAYS. The defendant shall serve
     his sentence beginning on Sunday, April 1, 2007, at 6:00 p.m. and shall be released on
     Tuesday, April 3,2007, at 6:00 p.m.

            The Court makes the following reconmendations to the Bureau of Prisons:


     - The defendant is remanded to the custody of the United States Marshal.
            The defendant shall surrender to the United States Marshal for this district:

                      - at                         a.m.       p.m.   on

                      - as notified by the United States Marshal.
       X      The defendant shall surrender for service of sentence at the institution designated by the Bureau
              of Prisons:

                      - before 2 p.m. on
                        X      as notified by the United States Marshal.

                      - as notitied by the Probation or Pretrial Services Office.
                                                          RETURN

     I have executed this judgment as follows:


              Defendant delivered on                         to                                         at

                                        with a certified copy of this judgment.



                                                                     UNITED S ~ E MARSHAL
                                                                                   S

                                                      BY
                                                                     DEPUTY UNITED STATES MARSHAL
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Defendant:          VINCENT J. CARTER                                                        Judgmcnt - Page     3         of    4
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                                                     SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be on supervised release for a term of 'TWENTY-NINE
(29) MONTHS.

         The defendant shall report to the probation office in the district to which the defendant is released within72 hours
of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not illegally possess a controlled
substance. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shallsubmit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, not to exceed 104 tests
per year.

          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.


          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in
          accordance with the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any
          additional conditions on the attached page.
                                      STANDARD CONDITIONS OF SUPERVISION
          the defendant shall not leave the judicial district without the permission of the court or probation ofticer;

          the defendant shall report to the probation ofticer and shall submit a truthful and complete written report within the first five
          days of each month;

          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation of5cer;

          the defendant shall support his or her dependents and meet other family responsibilities;

          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
          other acceptable reasons;

          the defendant shall notify the probation ofticer at least ten days prior to any change in residence or employment;

          the defendant shall refrain from excessive usc of alcohol and shall not purchase, possess, use, distribute. or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

          the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted
          of a felony, unless granted permission to do so by the probation officer;

          the defendant shall pennit a probation ofticcr to visit him or her at any time at horne or elsewhere and shall permit confiscation
          of any contraband observed in plain view of the probation ofticer;

          the defendant shall notify the probation officer within seventy-two hours of being arrested or qucstioncd by a law enforcement
          officer;

          the defendant shall not enter into any agreement to act as an informer or a special agcnt of a law enforcement agency without the
          permission of the court:

          as directed by the probation officcr, t h e defendant shall notie third parties of risks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall pennit thc probation ot'ficer to makc such nolitications and to confirm
          the defendant's compliance with such notitication requirement.
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                                     SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

          The defendant shall participate in the Home Detention program for a period of FOUR (4) MONTHS. During this
          time, defendant will remain at defendant's place of residence except for employment and other activities approved
          in advance by the defendant's Probation Officer. Defendant will be subject to the standard condirions of Home
          Detention adopted for use in the Middle District of Florida, which may include the requirement to wear an electronic
          monitoring device and to follow electronic monitoring procedures specified by the Probation Officer. Further, the
          defendant shall be required to contribute to the costs of services for such monitoring not to exceed an amount
          determined reasonable by the Probation Officer based on ability to pay (or availability of third party payment) and
          in conformance with the Probation Office's Sliding Scale for Electronic Monitoring Services.

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X         Defendant shall participate in a substance abuse program (outpatient andlor inpatient) and follow the probation
          officer's instructions regarding the implementation of this court directive. Further, the defendant shall be required
          to contribute to the costs of services for such treatment not to exceed an amount determined reasonable by the
          Probation Office's Sliding Scale for Substance Abuse Treatment Services. During and upon completion of this
          program, the defendant is directed to submit to random drug testing.
